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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :        Case No. 1:21-cr-00222 (TFH)
                                             :
GEORGE PIERRE TANIOS,                        :
                                             :
and                                          :
                                             :
JULIAN ELIE KHATER,                          :
                                             :
                      Defendants.            :


             GOVERNMENT’S NOTICE OF VICTIM IMPACT STATEMENTS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby notifies the Court and the parties that the following individuals

will address the Court in person during sentencing on January 27, 2023:

       1)   Gladys Sicknick
       2)   Ken Sicknick
       3)   Craig Sicknick
       4)   Nichole Sicknick
       5)   Charles Sicknick
       6)   Sandra Garza

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY

                                                 By: /s/ Gilead Light
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                                                     D.C. Bar Number 980839
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